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                                                           U.S. Department of Justice

                                                           National Security Division


Counterintelligence and Export Control Section             Washington, DC 20530

                                                           August 17, 2017



By FedEx
RTTV America, Inc.
c/o Brian E. Dickerson, Esquire
FisherBroyles LLP
1200 G Street, NW
Washington, DC 20005

Re;       Obligation of RTTV America, Inc. to Register Under the
          Foreign Agents Registration Act

Dear Mr. Dickerson:

        Based upon your letters of January 4,2013, and January 9,2017, documents you have
provided to this office, press reports, and otlier publicly available information,* we have
determined that RTTV America, Inc. (“RTTV America”) has an obligation to register under the
Foreign Agents Registration Act of 1938, as amended, 22 U.S.C. §§ 611-621 (1995) (“FARA” or
the “Act”). RTTV America’s obligation to register arises from its political activities in the
United States on behalf of RT and TV-Novosti, both foreign principals under the Act and proxies
of the Russian Government, and its related work within the United States as a publicity agent and
information-service employee of TV-Novosti.

FARA

        The purpose of FARA is to inform the American public of the activities of agents
working for foreign principals to influence U.S. Government officials or the American public
with reference to the domestic or foreign policies of the United States, or with reference to the
political or public interests, policies, or relations of a foreign country or a foreign political party.

       The term “foreign principal” includes “a government of a foreign country” and “a
partnership, association, corporation, organization, or other combination of persons organized
           1
         See, e.g.. Office of the Director of National Intelligence, Assessing Russian Activities
and Intentions in Recent US Elections (2017) (“Intelligence Community Report”).
https://www.dni.gov/files/documents/ICA_2017_01.pdf See also, e.g., Steven Erlanger,
Russia's RT Network: Is It More BBC or K.G.B. ?, N.Y. Times (Mar. 8,2017),
https://www.nytimes.eom/2017/03/08/world/europe/russias-rt-network-is-it-more-bbc-or-
kgb.html; Russ Read, How Russia Wages Information Warfare in the United States, Newsweek
(Nov. 12,2016), http://www.newsweek.com/russia-wages-information-warfare-us-520469;
Rosie Gray, How the Truth is Made at Russia Today, BuzzFeed News (Mar. 13, 2014),
https://www.buzzfeed.com/rosiegray/how-the-truth-is-made-at-russia-
today?utm_term=.ymRXWQ0Ndm#.fjKGxP7mJ6.
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under the laws of or having its principal place of business in a foreign country,” 22 U.S.C.
§ 611(b).

        An “agent of a foreign principal” is defined, in pertinent part, as “any person who acts as
an agent... or... at the order, request, or under the direction or control” of a “foreign principal”
and “(i) engages within the United States in political activities for or in the interests of such
foreign principal;” or “(ii) acts within the United States as a... publicity agent, [or] information-
service employee ... for or in the interests of such foreign principal.” 22 U.S.C. § 61 l(c)(l)(i)-
(ii).

        The term “political activities” is defined in 22 U.S.C. § 611 (o) as “any activity that the
person engaging in believes will, or that the person intends to, in any way influence any agency
or official of the Government of the United States or any section of the public within the United
States with reference to formulating, adopting, or changing the domestic or foreign policies of
the United States or with reference to the political or public interests, policies, or relations of a
government of a foreign country or foreign political party,”

        A "publicity agent” refers to “any person who engages directly or indirectly in the
publication or dissemination of oral, visual, graphic, written, or pictorial information or matter of
any kind, including publication by means of... broadcasts, motion pictures, or otherwise,” 22
U.S.C. § 611(h), while an “information-service employee” includes “any person who is engaged
in furnishing, disseminating, or publishing accounts, descriptions, information, or data with
respect to the political, industrial, employment, economic, social, cultural, or other benefits,
advantages, facts, or conditions of any country other than the United States or of any government
of a foreign country....” 22 U.S.C. § 61 l(i).

RT and TV-Novosti are Proxies of the Russian Government

        RT (formerly “Russia Today”) is a Russian international television network,
headquartered in Russia, that disseminates broadcasting content to the United States, among
other cotmtries.^ RT America, according to its Facebook page, “is the US based arm of RT, a
24-hour English language international broadcast news network headquartered in Moscow.”^
Financial information for RT shows that in 2015, 99.7% of the funds expended by RT




        2 See “About RT,” RT.com, https://www.rt.com/about-us/.
         ^ “About,” RT America Facebook Page,
https ://www.facebook.com/pg/RTAmerica/about/?ref=page_intemal. See also “RT America”
Tab, RT.com, https://www.rt,com/on-air/rt-america-air/ (“[RT America] delve[s] deep into the
most important issues on the US agenda, report[s] the other side of the story, and explore[s]
unanswered - and unasked - questions.”).
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(amounting to $285 million) came from the Russian government.'* Accordingly, RT meets the
definition of a “foreign principal” pursuant to FARA. See 22 U.S.C. § 611(b)(3).

        Moreover, the U.S. Intelligence Community has assessed that RT also serves as the
Russian Government’s “principal international propaganda outlet.”^ Indeed, Russian President
Vladimir Putin has explicitly said that “[RT] is funded by the [Russian] government, so it cannot
help but reflect the Russian Government’s official position on the events in our country and in
the rest of the world.”® Similarly, RT’s editor-in-chief, Margarita Simonyan, has acknowledged
that “since RT receives its budget from the state, it must complete tasks given by the state.”’
Simonyan has also referred to RT as “an information weapon,” noting that, in the United States
“people will already be watching [RT]... at the critical moment we will have this audience
already built up, an audience that is looking to us for the other side of the truth, and we will
certainly take advantage of that.”® Accordingly, to the extent RT serves as a proxy of the
Russian government, it qualifies as a “foreign principal” for that reason as well.

        RT is owned by TV-Novosti, a news organization designated under Russian law as an
autonomous non-profit organization (ANO).® According to the plain language of one of the
contracts that you provided, TV-Novosti is a “legal entity registered in due form under the laws
of the Russian Federation,” with its principal place of business in Russia.'® Under the statutory


         Leonid Bershidsky, “Beware of RT’s Charade of Independence from Putin,” Bloomberg
(Jan. 10,2017), https;//www.bloomberg.com/view/articles/2017-01-10/beware-of-rt-s-charade-
of-independence-from-putin.
         ® Intelligence Community Report at 3.
         ® “Putin Visits New HQ of State-Funded External Broadcaster,” Kremlin.ru (June 13,
2014).
          ’ Dozhd Online (July 11,2012),
https ://tvrain.ru/teleshow/harddaysnight/margarita_simonjan_o_dzhuliane_assanzhe_j)ussy_riot__
i_^osdepe_polnaja_versija-327931/. In a separate 2012 interview, Simonyan noted that Aleksey
Gromov, Presidential Administration Deputy Chief of Staff, oversaw RT political coverage,
including having in-person meetings with media managers in which he shared classified
information and discussed media coverage plans. Annex A to Intelligence Community Report,
at 9.
          8 Ilya Azar, “Russia Today Chief Editor Interviewed on Objectivity, Role of Media,
Information Warfare,” Lenta.ru (Mar. 7,2013).
        ® See, e.g., “Contact info,” RT.com, https;//www.rt.com/about-us/contact-info/. One
commentator has even claimed that TV-Novosti and RT are one and the same, with RT being
“officially known as ANO TV Novosti.” See Bershidsky, supra, n.4.
         10
          See Letter from B. Dickerson to A. Mudd, (Jan. 4,2013) (hereinafter, “2013 Letter”),
Ex. 16 (Contract No. 1001/08-10) (Aug. 17, 2010) (quoted language in preamble to agreement).
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definition quoted above, TV-Novosti also qualifies as a “foreign principal” under the Act. See
22 U.S.C. §611(b)(3).

Bases for Requiring RTTV America’s Registration Under FARA

       1. RTTV America Is an Agent ofBoth RT and TV-Novosti

        RTTV America describes itself as a “Broadcasting and Media Production Company, »n
and it operates in the United States on behalf of RT, for whom it is an alter ego. The website that
RTTV America lists on its Facebook page is the website for RT, and it apparently operates from
the same offices in Washington, DC that RT uses.'^ RTTV America, therefore, operates as an
agent of RT for purposes of FARA.

       Relatedly, RTTV America also operates as an agent of TV-Novosti. According to your
correspondence with us and the contractual documents attached thereto, RTTV America has
provided two types of services to TV-Novosti. First, from at least August 11,2005, until
August 1, 2014, two “production agreements”obligated RTTV America to produce television
programs and news segments*^ in the United States, which were uploaded to TV-Novosti and
then broadcast almost immediately within the United States.Second, since at least April 5,
        II RTTV America Facebook Page, https://www.facebook.com/pages/RTTV-
America/144605132241060.
        12 See id. The operations of RT and RTTV America are, in essence, commingled in
Washington, DC. Both RT and RTTV America occupy office space at 1325 G St., NW,
Washington, DC. RT, for its part, states on its website that it “broadcasts from its studios in
Washington, DC.” See “About Us.” RT.com, https;//www.rt.com/about-us/.
        13
         See 2013 Letter at 2-3; id. Ex. 16 (Contract No. 1001/08-10). See also Letter from B.
Dickerson to C. Rones (Jan. 9,2017) (hereinafter, “2017 Letter”).
        14Per your prior correspondence, those production agreements were terminated in 2014,
see 2017 Letter at 1, but the obligation to register continues even as to completed activities, see
22 U.S.C. § 618(e). Furthermore, despite RTTV America’s claim that it no longer plays a role in
RT America content, the RTTV America Facebook page is continually updated with
photographs and commentary regarding current content production out of the RT America
studios. See RTTV America Facebook Page, https;//www.facebook.com/pages/RTTV-
America/144605132241060. This RTTV America Facebook page is separate and apart from the
RT America page, indicating that RTTV America may continue to play more of a role in RT
America production activities than the 2014 agreement would suggest. See RT America
Facebook Page, https;//www.facebook.com/RTAmerica/.
        15 RTTV America content includes news stories, editorial commentary, and promotions
of destinations in Russia.
        16 2013 Letter at 3; Ex. 9 (Contract No. 05-24RT § 1.1 (Aug. 11,2005) (obligating

RTTV America to “gather information, prepare and render to [TV-Novosti] news materials and
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2007, pursuant to other agreements, RTTV America has arranged for the distribution in the
United States of RT, the television channel, by purchasing broadcast channel access from hotels
and cable companies and reselling that access to TV-Novosti “to broadcast RT.”” The most
recent contract that you provided does not expire until August 31,2017.(If there are new
agreements in place between RTTV America and TV-Novosti, please provide those as part of
your registration.)

       2. RTTV America Has Engaged in “Political Activities “ Under FARA

        According to RT’s own website, part of RT’s mission is to “acquaint. .. international
audiences with a Russian viewpoint on major global events,”” and a sample of RT’s
programming reflects a demonstrable Russian government viewpoint. Indeed, the Intelligence
Community has concluded that RT is “a messaging tool... [used] to undermine faith in the US
Government and fuel political protest.”^® In a 2012 interview, TV-Novosti General Manager
Aleksey Nikolov noted that content &om RT America and other foreign bureaus “only becomes
[RT] content after the corresponding editorial work is performed on it here, in the Russian
office.”^'




communications about events and fact that take place in the... United States of America and
adjacent territories which have informational character”)); id. Ex. 10 (Agreement No. 06-01 RT
§ 1.2 (My 1, 2009) (obligating RTTV America to produce “news blocks” and “TV programs”
for TV-Novosti)); id. at 3, 5 (TV-Novosti broadcasts content from RTTV America “within three
seconds” of receipt). See also, e.g., 2017 Letter at Ex. 15 (Appendix No. 1 to Contract No.
1001/08-10 from August 17, 2010) (mandating RT be broadcast via Time Warner Cable in New
York, New Jersey and California); 2013 Letter at Ex. 12 (Contract No. 871/04-07, § 1.1 (Apr. 5,
2007) (defining the subject of the contract as the broadcast of Russia Today TV within the
“Territory,” which is defined as “Washington, DC (United States of America)”)).
       17 2013 Letter at 3 (citing Exs. 11-20).
                                            See also, id., Ex. 11 (Contract No. 130, at 1 (Dec.
27,2011)) (defining the “TV-Programme” to be distributed as “Russia Today TV (RTTV) (US
edition).”).
       18 2017 Letter, Ex. 10 (Additional agreement No. 8 to the Contract No. 1000/08-07 (June
18,2015) (extending distribution agreement to August 31,2017)).
       ” “About Us,” RT.com, https://www.rt.com/about-us/.
       20 Intelligence Community Report at 3,6. See also Clint Watts, “Statement Prepared for
the U.S. Senate Select Committee on Intelligence Hearing: ‘Disinformation: A Primer In Russian
Active Measures and Influence Campaigns,”’ (Mar. 30,2017),
https://www.intelligence.senate.gOv/sites/defauIt/files/documents/os-cwatts-0330l7.pdf.
       21Danilo Shepovalnikov, “Other TV,” COMNEWS (Sept. 19,2012),
htlp://www.comnews.ru/node/67949#ixzz4alUT012r.
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        RT’s broadcasts consistently mirror the opinions of the Kremlin, which, together with the
state funding and other indicia of agency described above, indicate that both RTTV America and
TV-Novosti act as alter egos of the Kremlin in ensuring dissemination of the Russian
Government viewpoint on key political events. Therefore, the Russian Government itself
should be construed as a foreign principal on whose behalf RTTV America is engaged in
political activities in the United States.

       For example, an April 5, 2017, broadcast of the RT America show, “News with Ed,”
featured a guest calling into question the U.S. contention that Syrian president Bashar al-Assad
had used chemical weapons against Syrian civilians.^^ A week later, an RT America broadcast
continued that theme with another piece questioning the legitimacy of the U.S. Government’s
evidence that President Assad was behind the April 4,2017, chemical attack.^^ This narrative
mirrors the messaging coming out of the Kremlin, which posited that the chemical weapons were
released when a rebel chemical stockpile was hit during airstrikes.^'*

      Other recent examples of the alignment between RT America’s coverage and Kremlin
messaging include the following;

            •   After the United States announced new sanctions in response to Iran’s ballistic
                missile testing in January 2017, RT America’s coverage echoed the Kremlin’s
                message that the ballistic missile testing did not violate the Joint Comprehensive
                Plan of Action (JCPOA). 25

            •   In response to the release of the Intelligence Community Report, which
                highlighted the Kremlin’s use of RT as a propaganda tool, both RT America’s
                coverage of the report and the response from the Kremlin focused on claims that



       22Trump has ‘drunk the Kool Aid’ on Syrian narrative - finr diplomat,” RT America
YouTube Channel (Apr. 5,2017), https://www.youtube.com/watch?v=wK9e0vl8tPk.
          “US report on Idlib attack ‘misinterprets evidence,’ ‘politically motivated’ -
professor,” RT America YouTube Channel (Apr. 12,2017),
https;//www.youtube.com/watch?v=8BAzQwOepcU.
       24 See, e.g., Tom O’Connor, “Putin, Russian Military Accuse Syrian Rebels of Framing
Assad to Draw U.S. Support,” Newsweek (Apr. 11,2017), http://-www.newsweek.com/russia-
military-putin-rebel-cheraical-attack-us-support-582621.
       25  Compare “Trump threatens Iran with sanctions, vows to scrap historic treaty,” RT
America YouTube Channel (Feb. 3,2017), https://’www.youtube.com/watch?v=ckJ17G_DLkk,
with Ladane Nasseri and Alexei Anishchuk, “Europe, Russia Weigh In on Iranian Missiles as
UNSC to Meet,” Bloomberg (Jan. 31,2017), https://www.bloomberg.com/news/articles/2017-
01-3 l/eu-russia-weigh-in-on-iran-missiles-as-security-council-to-meet.
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                 the report lacked any real evidence of Russian involvement in election
                 interference.^^

             •   Criticism of NATO is also a frequent theme in RT America broadcasts.^^ In a
                 March 29,2017 broadcast, for example, RT America presented news of the U.S.
                 Senate vote to accept Montenegro into NATO.^* RT America’s opposition to
                 Montenegro’s entry into NATO aligns with the Russian government’s vocal
                 opposition to both the admission of Montenegro into NATO and to NATO as an
                 organization.^^

        In sum, RTTV America is obligated to register under FARA because: (1) through its
production and distribution of programming for RT broadcasts in the United States, it seeks to
“influence... any section of the public within the United States with reference to formulating,
adopting, or changing the domestic or foreign policies of the United States, or with reference to
the political or public interests, policies, or relations” of Russia, for or in the interests of Russia,
and is therefore engaged in “political activities,” see 22 U.S.C. § 61 l(o); and (2) it has acted as
an agent of both RT and TV-Novosti in producing and distributing the content constituting those
political activities (as described in more detail below).


        26Compare “ODNI report on Russian interference is ‘utter embarrassment’ - Chris
Hedges,” RT America YouTube Channel (Jan. 10,2017),
https://www.youtube.com/watch?v=XamSilDJFUo, wiit/z Andrew V. Pestano, “Kremlin: U.S.
report on Russian hacking ‘unfounded,’ ‘amateurishly emotional,” UPI (Jan. 9,2017),
http://www.upi.com/Top_NewsAV'orld-News/2017/01/09/Kremlin-US-report-on-Russian-
hacking-unfounded-amateurishly-emotional/5821483979291/.
        2? See, e.g., “Military buildup is a gesture of‘American commitment’ - ex-diplomat,”
RT America YouTube Channel (Jan. 16,2017), https://www.youtube.com/watch?v=kKOGcY-
EgrY; “NATO accused of warmongering against Russia,” RT America YouTube Channel (June
21,2016), https://www.youtube.com/watch?v=BdVxroezcww; “‘NATO was created for
aggression in first place’: Kremlin on reports of new Western buildup,” RT.com (Nov. 7,2016),
https ://www.rt. com/news/365644-nato-aggr ession-created-kremlin/.
        28  See “NATO Wants to Bring Us ‘As Close as Humanly Possible’ to War,” Ron Paul
Institute (featuring March 29,2017 RT footage), http://www.ronpaulinstitute.org/archives/peace-
and-prosperity/2017/march/30/nato-wants-to-bring-us-as-close-as-humanly-possible-to-war/.
        29 See, e.g., “Russia calls U.S. Approval of Montenegro’s NATO Bid ‘Deeply
Mistaken,” RadioFreeEurope (Apr. 14,2017), https://www.rferl.org/a/russia-calls-us-approval-
montenegro-nato-bid-deeply-mistaken/28429017.html; Jason Le Miere, “Russia Suggests Trump
is no Different From Obama After Montenegro NATO Approval,” Newsweek (Apr. 13,2017),
http://www.newsweek.com/russia-trump-obama-montenegro-nato-583688; Jack Farchy, “Putin
names Nato among threats in new Russian security strategy,” Financial Times (Jan. 2,2016),
https://www.ft.com/content/6e8e787e-bl5f-l Ie5-bl47-e5e5bba42e51.
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       3. RTTV America Also Has Served as a "Publicity Agent" and "Information-Service
          Employee ’’for TV-Novosti and RT

         RTTV America’s obligation to register under FARA is also triggered by two other
aspects of its work on behalf of TV-Novosti. First, by producing television programs within the
United States that TV-Novosti would later redistribute as part of RT (including distribution
vrithin the United States) and by securing channels that TV-Novosti used to distribute RT
programming (including but not limited to the programs that RTTV America produced), RTTV
America “engage[d] directly or indirectly in the ... dissemination of... broadcasts,” and
therefore served as a “publicity agent, » 30 22 U.S.C. § 611(h). Second, because its programming
concerned "conditions” of a foreign government or “foreign country,” including but not limited
to Russia, RTTV America also served as an “information-service employee” by “furnishing,
disseminating, or publishing” those programs. 22 U.S.C. § 61 l(i).

        In your correspondence, you have argued that “RTTV America is not under the control or
ownership of any foreign entity” and does not “seek or follow any editorial views from any
foreign entity, ' As you put it, “RTTV America simply produces content which TV-Novosti
elects to broadcast or not. »32 However, FARA applies broadly to all “agent[s],” “employee[s],”
and “servant[s]” of foreign principals, including “any person who acts... at the order [or]
request” of a foreign principal. 22 U.S.C. § 611(c)(1). By directing RTTV America’s actions
through the agreements at issue, TV-Novosti established an agency relationship sufficient to
satisfy the statute, regardless of the extent to which TV-Novosti allowed RTTV America
editorial latitude in the creation of content. Because RTTV America undertook (and in the case
of distribution of RT content, continues to undertake) the foregoing activities in the United States
pursuant to contract with (and at cost to) TV-Novosti, those actions were undertaken “for or in
the interests of’ TV-Novosti. See 22 U.S.C. 61 l(c)(l)(ii). As noted above, because TV-Novosti
is a “legal entity registered in due form under the laws of the Russian Federation,” with its
principal place of business in Russia,it qualifies as a “foreign principal” under FARA. See 22

       30   Margarita Simonyan has implied that the corporate arrangement between RTTV
America and TV-Novosti is, at least in part, an attempt to avoid RTTV America being
considered a foreign agent. In an October 2012 interview addressing the differences between
FARA and the then-draft Russian foreign agent registration law, Simonyan commented that “in
America, we are not a foreign agent because we operate through a commercial organization in
America. That is, our broadcasts in America are carried by an American commercial
organization, and we simply transfer money to them.” Dozhd Online (July 11,2012),
https://tvrain.ru/teleshow/harddaysnight/margarita_simonjan_o_dzhuliane_assanzhe__pussy_riot_
i_gosdepe_polnaja_versija-327931/.
             2013 Letter, at 5.
        32
          Id.
       33 See, e.g., id. Ex. 16 (Contract No. 1001/08-10 (Aug. 17, 2010) (quoted language

appearing in preamble to agreement)).
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U.S.C. § 611(b)(3). Indeed, you have previously conceded that RTTV America acts as TV-
Novosti’s agent.^'* Therefore, RTTV America has been acting, and continues to act, as an agent
of a foreign principal and therefore is obligated to register under FARA.

        Moreover, the contracts expressly give TV-Novosti the option of exercising editorial
control over RTTV America’s programming and distribution activities. As to the programs
RTTV America produced for it, TV-Novosti was entitled to “[g]ive directions to [RTTV
America], related to the services rendered under this Contract, which [RTTV America] [was]
obliged to perform. »35 And as to the distribution contracts, TV-Novosti has the right to “[ejnsure
that the content of the TV-programme will be in compliance with the requirements of the
legislation of the Russian Federation about mass media.        In addition, under the distribution
contracts, TV-Novosti also directs RTTV America to monitor the use of the RT content it
distributes pursuant to those contracts. Specifically, the distribution agreement currently in
effect until August 31,2017, mandates RTTV America to “disallow any use of the TV-
programme that may damage the professional integrity, accuracy, or editorial, artistic and
technical quality of the TV-programme, or mutilates the content of the TV-programme.”^’

         Finally, although you have not raised it, we note that although FARA does provide an
exception for “bona fide news or journalistic activities,” see 22 U.S.C. § 611(d), that statutory
exemption does not apply to RTTV America’.s activitie.s. The media exemption only applies if a
media outlet “is not owned, directed, supervised, controlled, subsidized, or financed, and none of
its policies are determined by any foreign principal[.]” Id. As already noted, RTTV America
receives funding from TV-Novosti, which retains editorial control over programming content.



        34   See 2017 Letter at 3 (describing TV-Novosti as RTTV America’s “foreign principal”).
       35  2013 Letter, Ex. 9 (Contract No. 05-24RT, 12.1.2). See also 2013 Letter, Ex. 10
(Agreement No. 06-0IRT, ^ 2.2.2 (“The Client shall: Give directions to the Contractor, related to
the services rendered under this Contract, which the Contractor is obliged to perform.”); 2013
Letter Ex. 9 (Contract No. 05-24RT, 12.1.1 (“The Customer shall have the right to: Control the
course and the quality of the Services rendered by the Contractor but at the same time not to
interfere in the activity of the Contractor.”)); 2013 Letter, Ex. 10 (Agreement No. 06-01RT, H
 1.2.2,2.2.3 (requiring the parties to agree on the “theme of audiovisual product, length and other
conditions” and giving TV-Novosti the right “[t]o check at any time the progress and quality of
services rendered” without “interfering in... day-to-day operation,” as well as the right to
“[p]ropose” and “decline the candidates to the position of news reader”)
        36 See, e.g., 2013 Letter, Ex. 16 (Contract No. 1001/08-10 (Aug. 17,2010) at 12.1.3).

        37 2013 Letter, Ex. 17 (Contract No. 1000/08-07 (Aug. 22, 2007), at 12.3.3); 2017 Letter,
Ex. 10 (Additional agreement No. 8 to the Contract No. 1000/08-07 (June 18,2015) (extending
distribution agreement to August 31,2017)). See also n. 19, supra (interview with RT General
Manager Aleksey Nikolov in which he stated that foreign bureau content is put through an
editorial process in Russia).
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Conclusion

         For tlie reasons stated above, RTTV America has an obligation to register under FARA.
To be clear, registration would not require RTTV America to alter the content of its
programming in any manner; indeed, if registered as required, RTTV America would be free to
facilitate the dissemination of any content it chooses. Rather, registration would simply allow
media outlets purchasing RTTV America programming, and American viewers watching such
programming, to be fully informed regarding the foreign influence behind the content on the
network.

          Please effect RTTV’s registration within thirty (30) calendar days of the date of this
letter.

        Useful information and foims needed for registration may be found on our website at
http://www.fara.gov. If you have any questions regarding registration, or have additional
information to provide, please contact Clifford Rones by telephone at (202) 233-0776 or by e-
mail at FARA.public@usdoj.gov.

                                                        Sincerely,



                                                        Heather H. Htmt
                                                        Chief, FARA Registration Unit
